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               United States Court of Appeals
                                For the First Circuit
                                 _________________________

 No. 20-1582

                                        HERBERT DAVIS

                                        Plaintiff - Appellee

                                                 v.

                      STEPHEN C. MCMANUS, in his individual capacity

                                       Defendant - Appellant

                        PAUL W. MURPHY, in his individual capacity;
                       STEPHEN M. MEADE, in his individual capacity

                                            Defendants
                                      _____________________

                                          JUDGMENT

                                  Entered: October 16, 2020
                                 Pursuant to 1st Cir. R. 27.0(d)

        Upon consideration of stipulation, it is hereby ordered that this appeal be voluntarily
 dismissed pursuant to Fed. R. App. P. 42(b) with each party to bear its own costs.

        Mandate to issue forthwith.

                                                      By the Court:

                                                      Maria R. Hamilton, Clerk

 cc:
 Jeffrey P. Wiesner
 Jason G. Benzaken
 Jennifer McKinnon
 Nicole Marie O'Connor
 Nieve Anjomi
 Jacob Goodelman
 Susanne G. Reardon
 Brian M. LaMacchia
